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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                                 Judge Raymond P. Moore

  Civil Action No. 20-cv-01658-RM-KLM

  CRAIG BOUNDY,
  EXPERIAN INFORMATION SOLUTIONS, INC.,
  JENNIFER SUN, and
  JONES DAY,

         Petitioners,

  v.

  BRIAN EDMOND BATH a/k/a Brian William Wallace,

         Respondent.

  ______________________________________________________________________________

                                     ORDER
  ______________________________________________________________________________

         On August 11, 2020 the Court issued an order awarding Petitioners their costs and

  reasonable attorney fees incurred in connection with the spurious liens and documents in this

  case and directed Petitioners to submit a declaration establishing the amount of such costs and

  fees. (ECF No. 16.) Petitioners then filed a declaration seeking $58,414.00 in attorney fees and

  $1,630.60 in costs. (ECF No. 17.) Respondent has not responded to the request. Upon review

  of Petitioners’ declaration, the Court grants Petitioners’ request and awards the amounts

  requested for a total monetary judgment of $60,044.60.

         Having already ruled that Petitioners are entitled to their costs and fees, the Court

  assesses here only the reasonableness of the amount requested. The Court begins by calculating

  the lodestar amount of the fee, which is determined by multiplying the number of hours

  reasonably expended by a reasonable hourly rate. See Robinson v. City of Edmond, 160 F.3d
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  1275, 1281 (10th Cir. 1998). Although Respondent does not challenge these factors, the Court

  makes an independent assessment of these factors in the exercise of its discretion to determine

  the amount of fees to be awarded.

         Petitioners contend that they reasonably expended 101.1 hours on this matter performing

  tasks such as researching the procedures for expunging liens in Colorado, preparing their

  successful verified petition for order to show cause pursuant to Colo. Rev. Stat. § 38-35-204,

  locating and attempting to serve Respondent, preparing for and attending the show cause hearing

  held on July 22, 2020, drafting the Court’s findings and conclusions, and recording the order and

  decree. The Court agrees that 101.1 hours were reasonably expended on these matters.

         Petitioners also contend that they are seeking fees at hourly rates that are reasonable and

  comparable to rates charged by attorneys with similar experience. The Court agrees based on its

  general experience as well as its familiarity with the proceedings in this case.

         Petitioners seek costs that include filing fees, process service fees, and reporter fees. The

  Court finds these amounts are reasonable also.

         Therefore, it is ORDERED that Petitioners are awarded a total monetary judgment of

  $60,044.60 against Respondent.

         DATED this 19th day of October, 2020.

                                                        BY THE COURT:



                                                        ____________________________________
                                                        RAYMOND P. MOORE
                                                        United States District Judge




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